Case 1:17-cv-00654-GJQ-PJG ECF No. 54 filed 12/18/17 PageID.769 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


ERIC C. GRIMM,

          Plaintiff,                          Case No. 1:17−cv−00654−GJQ−PJG

    v.

RAW STORY MEDIA, INC., et al.,

          Defendants.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: Eric C. Grimm
RE: Motion for Alternate Service − #53
REASON FOR NOTICE: Exhibits or attachments are not identified on their
face by number or letter.
RECOMMENDED ACTION: None.
INFORMATION FOR FUTURE REFERENCE: Local Civil Rule 5.7(d)(vii)
requires that all exhibits and attachments contain on their face a prominent
exhibit number or letter. This is particularly helpful to the court should the
document be printed.
For further assistance, please contact the ECF Help Desk at
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                                            CLERK OF COURT

Dated: December 18, 2017             By:     /s/ M. Carlson
                                            Deputy Clerk
